Case 17-34665-KLP           Doc 7592       Filed 01/18/22 Entered 01/18/22 08:35:14                       Desc Main
                                          Document     Page 1 of 2



                             UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION


     In re:                                                            Chapter 11

     TOYS ‘R’ US, INC., et al.,                                        Case No. 17-34665

                              Debtors.


                   ORDER GRANTING MOTION PURSUANT TO LOCAL
              BANKRUPTCY RULE 2090-1(E)(2) FOR PRO HAC VICE ADMISSION

          Upon the Motion Pursuant to Local Bankruptcy Rule 2090-1(E)(2) for Pro Hac Vice

 Admission1; the Court having jurisdiction to consider the Motion and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334; consideration of the Motion and the relief requested therein

 being a core proceeding pursuant to 28 U.S.C. § 157(b); venue being proper before this Court

 pursuant to 28 U.S.C. §§ 1408 and 1409; and after due deliberation and sufficient cause appearing

 therefore;

          IT IS HEREBY ORDERED as follows:

          1.      The Motion is granted as set forth herein.

          2.      Mr. Van Dyke is authorized to appear and practice pro hac vice as an attorney for

      the Trust in the above-captioned chapter 11 cases and any related proceedings in accordance

      with Local Bankruptcy Rule 2090-1(E)(2).

          3.      The Application attached to the Motion as Exhibit B is approved.

          4.      The terms and conditions of this Order shall be immediately effective and

      enforceable upon its entry.




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          Capitalized terms not defined in this Order shall have the meanings ascribed to such terms in the Motion.
Case 17-34665-KLP         Doc 7592    Filed 01/18/22 Entered 01/18/22 08:35:14       Desc Main
                                     Document     Page 2 of 2



        5.     The Court retains jurisdiction to hear and determine all matters arising from or

    related to this Order.                    Jan 13 2022
 Date: January 10, 2022
 Richmond, Virginia                           /s/ Keith L Phillips
                                               HONORABLE KEITH L. PHILLIPS
                                               UNITED STATES BANKRUPTCY JUDGE

                                               Entered On Docket: Jan 18 2022
 WE ASK FOR THIS:


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